Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wall to Wall Tile & Stone-Oregon LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1500 D Street
                                  Vancouver, WA 98663-4390
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  126 NE Emerson Ave. Bend, OR 97701
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://walltowallcountertops.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                            Case 19-32599-dwh11                   Doc 1        Filed 07/16/19
Debtor    Wall to Wall Tile & Stone-Oregon LLC                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                               Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                               Case 19-32599-dwh11                   Doc 1        Filed 07/16/19
Debtor   Wall to Wall Tile & Stone-Oregon LLC                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                          Case 19-32599-dwh11                      Doc 1        Filed 07/16/19
Debtor    Wall to Wall Tile & Stone-Oregon LLC                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 16, 2019
                                                  MM / DD / YYYY


                             X   /s/ Tyler Kruckenberg                                                    Tyler Kruckenberg
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Timothy J. Conway                                                     Date July 16, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Timothy J. Conway 851752
                                 Printed name

                                 Tonkon Torp LLP
                                 Firm name

                                 1600 Pioneer Tower
                                 888 SW Fifth Ave
                                 Portland, OR 97204-2099
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-221-1440                  Email address     tim.conway@tonkon.com

                                 851752 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                           Case 19-32599-dwh11                      Doc 1        Filed 07/16/19
Debtor     Wall to Wall Tile & Stone-Oregon LLC                                             Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                   Chapter     11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Wall to Wall Tile & Stone, LLC                                          Relationship to you               Affiliate
District   Oregon                                     When     7/16/19             Case number, if known
Debtor     Wall to Wall Tile & Stone-Idaho, LLC                                    Relationship to you               Affiliate
District   Oregon                                     When     7/16/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
                                            Case 19-32599-dwh11                Doc 1       Filed 07/16/19
 1   Albert N. Kennedy, OSB No. 821429 (Lead Attorney)
        Direct Dial: 503.802.2013
 2      Facsimile: 503.972.3713
        E-Mail:      albert.kennedy@tonkon.com
 3   Timothy J. Conway, OSB No. 851752
        Direct Dial: (503) 802-2027
 4      Facsimile: (503) 972-3727
        E-Mail:      tim.conway@tonkon.com
 5   Michael W. Fletcher, OSB No. 010448
        Direct Dial: (503) 802-2169
 6      Facsimile: (503) 972-3867
        E-Mail:      michael.fletcher@tonkon.com
 7   Ava L. Schoen, OSB No. 044072
        Direct Dial: (503) 802-2143
 8      Facsimile: (503) 972-3843
        E-Mail:      ava.schoen@tonkon.com
 9   TONKON TORP LLP
     888 SW Fifth Avenue, Suite 1600
10   Portland, OR 97204-2099

11           Attorneys for Debtors

12

13                             UNITED STATES BANKRUPTCY COURT
14                                      DISTRICT OF OREGON
15   In re                                                             Case No.
16   Wall to Wall Tile & Stone-Oregon LLC, an
     Oregon limited liability company,
17
                                     Debtor.
18

19   In re                                                             Case No.

20   Wall to Wall Tile & Stone, LLC, a
     Washington limited liability company,
21
                                     Debtor.
22
     In re                                                             Case No.
23
     Wall to Wall Tile & Stone-Idaho LLC, an                           DISCLOSURE OF COMPENSATION
24   Idaho limited liability company,                                  OF ATTORNEYS FOR DEBTOR
                                                                       PURSUANT TO RULE 2016(b)
25                                   Debtor.
26

Page 1 of 2 - DISCLOSURE OF COMPENSATION OF ATTORNEYS FOR DEBTOR
              PURSUANT TO RULE 2016(b)
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                          Case 19-32599-dwh11                 Doc 1            Filed 07/16/19
 1                     Tonkon Torp LLP ("Tonkon"), pursuant to Bankruptcy Rule 2016(b), states

 2   that:

 3                     1.      Tonkon has been engaged by Debtors herein to act as their general

 4   bankruptcy counsel in this case.

 5                     2.      In the 12 months preceding the filing of this Chapter 11 case, Tonkon

 6   received from Wall to Wall Tile & Stone, LLC, as set forth in its Rule 2014 Verified

 7   Statement for Proposed Professional, total payments of $89,400.25 (which includes filing

 8   fees) plus a $100,000 retainer which is held in Tonkon's trust account.

 9                     3.      The filing fee for commencing this Chapter 11 case will be paid in full.

10                     4.      The payments to be made by Debtors to Tonkon for legal services,

11   filing fees, and costs incurred in or in connection with this case will be from Debtors and

12   from property of the bankruptcy estates. Tonkon has not shared or agreed to share with any

13   person, other than its members, any compensation paid or to be paid.

14                     DATED this 16th day of July, 2019.

15                                                        TONKON TORP LLP
16

17                                                        By /s/ Timothy J. Conway
                                                             Albert N. Kennedy, OSB NO. 821429
18                                                           Timothy J. Conway, OSB No. 851752
                                                             Michael W. Fletcher, OSB No. 010448
19                                                           Ava L. Schoen, OSB No. 044072
                                                             Attorneys for Debtors
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     040202/00003/10185266v1
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Page 2 of 2 - DISCLOSURE OF COMPENSATION OF ATTORNEYS FOR DEBTOR
              PURSUANT TO RULE 2016(b)
                                                  Tonkon Torp LLP
                                              888 SW Fifth Ave., Suite 1600
                                                   Portland, OR 97204
                                                     503.221.1440
                            Case 19-32599-dwh11              Doc 1            Filed 07/16/19
 Fill in this information to identify the case:
 Debtor name Wall to Wall Tile & Stone-Oregon LLC
 United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15



A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cosmos Granite                  Rachel S. Black                 Judgment                                                                                             $4,500,000.00
 (West), LLC                     206-516-3880
 c/o Susman Godfrey              rblack@susmango
 LLP                             dfrey.com
 Attn: Rachel S.
 Black
 1201 Third Ave.
 #3800
 Seattle, WA 98101
 Cosentino                       786-686-5060                    Material supplier                                                                                      $943,971.93
 355 Alhambra                    karaf@cosentino.c
 Circle, Ste. 1000               om
 Coral Gables, FL
 33134
 Batholite Natural               Harisha Koya                    Material supplier                                                                                      $688,849.17
 Stone                           302-234-4448
 302 Wellspring Ct.
 Hockessin, DE
 19707
 Loyalty Enterprise              Matthew Green     Breach of                            Disputed                                                                        $583,930.33
 Development                     206-420-3486      Contract claim
 (Xinyang) Co., Ltd.             matt@gnlawseattle
 c/o Green &                     .com
 Norwood PLLC
 Attn: Matthew Green
 2722 Eastlake Ave
 E, #350
 Seattle, WA 98102
 Fortuna Granitos                561-945-6372      Material supplier                                                                                                    $541,267.71
 Corp                            roger@fortunagran
 12614 Torbay Dr.                itos.com
 Boca Raton, FL
 33428
 Caesarstone                     980-960-2940                    Material supplier                                                                                      $505,360.53
 POB 603791
 Charlotte, NC
 28260-3791

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                      Case 19-32599-dwh11                     Doc 1          Filed 07/16/19
 Debtor    Wall to Wall Tile & Stone-Oregon LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                206-516-3880                    Credit card                                                                                            $372,542.82
 POB 650448                                                      services
 Dallas, TX
 75265-0448
 Washington State                360-902-5800                   Workers                                                                                                 $281,771.43
 Dept of Labor &                                                Compensation
 Industr                                                        Insurance
 POB 44000
 Olympia, WA
 98504-4000
 MS International,               206-268-9200                    Material supplier                                                                                      $166,180.38
 Inc.
 5930 4th Ave. S.
 Seattle, WA 98108
 Columbia Bank                   253-305-1940                    Credit card                                                                                            $151,931.83
 1301 A St. #100                                                 services
 Tacoma, WA 98402
 Daltile                         jennifer.bliss@dalti Material supplier                                                                                                 $113,999.02
 Attn: Bankruptcy                le.com
 Dept.
 7834 C F Hawn Fwy
 Dallas, TX 75217
 Carson Oil                      503-224-8500                    Vehicle services                                                                                         $98,649.56
 POB 6030                        info@carsonoil.co
 Portland, OR 97210              m

 Pental Granite &                Mary Beth Ellis Material supplier                                                                                                        $92,996.30
 Marble                          253-344-5150
 3900 A Industry                 marybethe@agmgr
 Drive E                         anite
 Fife, WA 98424
 Granquartz                      Tammy Doss        Trade debt                                                                                                             $83,177.84
 POB 1767                        770-621-5213
 3950 Steve                      tdoss@granquartz.
 Reynolds Blvd                   com
 Norcross, GA 30093
 Heffernan Insurance             925-934-8500                   Insurance                                                                                                 $77,342.00
 Brokers                                                        services
 POB 4006
 Walnut Creek, CA
 94596
 Stone Profit                    773-276-6000                    Software services                                                                                        $73,942.50
 Systems, Inc                    dylan@stoneprofit
 U.S. Marketing &                s.com
 Sales Office
 1629 N. Ashland
 Chicago, IL60622
 Bedrosians Tile &               Gerard, credit dept. Material supplier                                                                                                   $66,683.76
 Stone                           559-275-9990
 4460 W. Shaw Ave,               gerard.credit@bedr
 #197                            osians.com
 Fresno, CA 93722


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                      Case 19-32599-dwh11                     Doc 1          Filed 07/16/19
 Debtor    Wall to Wall Tile & Stone-Oregon LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Lackmond Products               770-919-2100     Tools                                                                                                                   $59,451.67
 POB 2045                        rmathis@lackmond
 Kennesaw, GA                    .com
 30156
 Resolution                      503-226-2800                    Legal services                                                                                           $58,400.54
 Strategies LLP                  admin@rsllp.us
 515 NW Saltzman
 Rd. #909
 Portland, OR 97229
 Ferguson                        503-283-333        Supplies vendor                                                                                                       $41,002.46
 Enterprises, Inc.               nwdistrict.admin@f
 ATTN: Credit Dept.              erguson.com
 2250 N. Columbia
 Blvd.
 Portland, OR 97217




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                      Case 19-32599-dwh11                     Doc 1          Filed 07/16/19
 Fill in this information to identify the case:

 Debtor name         Wall to Wall Tile & Stone-Oregon LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 16, 2019                           X /s/ Tyler Kruckenberg
                                                                       Signature of individual signing on behalf of debtor

                                                                       Tyler Kruckenberg
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy




                                                 Case 19-32599-dwh11                        Doc 1           Filed 07/16/19
 1   Albert N. Kennedy, OSB No. 821429 (Lead Attorney)
        Direct Dial: 503.802.2013
 2      Facsimile: 503.972.3713
        E-Mail:      albert.kennedy@tonkon.com
 3   Timothy J. Conway, OSB No. 851752
        Direct Dial: (503) 802-2027
 4      Facsimile: (503) 972-3727
        E-Mail:      tim.conway@tonkon.com
 5   Michael W. Fletcher, OSB No. 010448
        Direct Dial: (503) 802-2169
 6      Facsimile: (503) 972-3867
        E-Mail:      michael.fletcher@tonkon.com
 7   Ava L. Schoen, OSB No. 044072
        Direct Dial: (503) 802-2143
 8      Facsimile: (503) 972-3843
        E-Mail:      ava.schoen@tonkon.com
 9   TONKON TORP LLP
     888 SW Fifth Avenue, Suite 1600
10   Portland, OR 97204-2099

11           Attorneys for Debtor

12

13                             UNITED STATES BANKRUPTCY COURT
14                                       DISTRICT OF OREGON
15   In re                                                             Case No.
16   Wall to Wall Tile & Stone-Oregon LLC, an                          CERTIFICATE OF SERVICE OF LIST
     Oregon limited liability company,                                 OF CREDITORS HOLDING 20
17                                                                     LARGEST UNSECURED CLAIMS ON
                                     Debtor.                           THE U.S. TRUSTEE
18

19                    I hereby certify that I served (1) a copy of the List of Creditors Holding 20
20   Largest Unsecured Claims; (2) address mailing labels for Debtor, Debtor's attorney, and a
21   contact person for each creditor on the list; and (3) this Certificate of Service, on the U.S.
22   Trustee at 620 SW Main Street, Room 213, Portland, Oregon 97205, by mailing copies
23   ***
24   ***
25   ***
26   ***

Page 1 of 2 - CERTIFICATE OF SERVICE OF LIST OF CREDITORS HOLDING 20 LARGEST
              UNSECURED CLAIMS ON THE U.S. TRUSTEE
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                          Case 19-32599-dwh11                 Doc 1            Filed 07/16/19
 1   thereof to the address set forth and depositing in the U.S. mail at Portland, Oregon on July

 2   16, 2019.

 3                     DATED this 16th day of July, 2019.

 4                                                      TONKON TORP LLP
 5

 6                                                      By /s/ Timothy J. Conway
                                                           Albert N. Kennedy, OSB NO. 821429
 7                                                         Timothy J. Conway, OSB No. 851752
                                                           Michael W. Fletcher, OSB No. 010448
 8                                                         Ava L. Schoen, OSB No. 044072
                                                           Attorneys for Debtor
 9

10   040202/00003/10143956v1

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              UNSECURED CLAIMS ON THE U.S. TRUSTEE
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                           Case 19-32599-dwh11             Doc 1            Filed 07/16/19
